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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                            Case No.: 24-21209-LMI

SHIFTPIXY, INC., et. al.1                                         Chapter 7

         Debtors.                                             /

                TRUSTEE’S EXPEDITED MOTION TO COMPEL MEDIATION

                                   Statement of Exigent Circumstances

                  While not an emergency, the Trustee is respectfully requesting
                  an expedited hearing on no more than 7 days’ notice. The
                  Trustee submits an expedited hearing is necessary due to the
                  wasting nature of the D&O Policy described in the Motion, and
                  the multiple claims asserted by various parties against it, all of
                  whom are seeking reimbursement from the policy. This policy
                  "burn rate" should be paused so that the various claimants
                  will have an opportunity to mediate their disputes.

         Jacqueline Calderin, Chapter 7 Trustee (the “Trustee”), of the jointly administered

bankruptcy estates of ShiftPixy, Inc., ShiftPixy Staffing, Inc. and ReThink Human Capital

Management, Inc. (collectively referred to as the “Debtors”), by and through her undersigned

counsel, files this motion (the “Motion”) to compel parties that have made a claim on the

Insurance Policy (as defined below) to attend mediation. In support of the Motion, the Trustee

states as follows:

                                      RELEVANT BACKGROUND

         1.       These cases were initiated by the Debtors, Shiftpixy, Inc., Shiftpixy Staffing, Inc.

and ReThink Human Capital Management, Inc. (the “Debtors”), upon the filing of voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code in this Court on October 28, 2024.


1 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142



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         2.       On October 30, 2024, the Court entered an Order (i) Directing Joint

Administration of the Debtors’ Related Chapter 11 Cases and (ii) Granting Related Relief [ECF

# 10] directing joint administration of the Debtors’ related chapter 11 cases.

         3.       On January 31, 2025, the Court entered the Order Granting Expedited Motion of

the Debtors for Entry of an Order Converting the Debtors’ Chapter 11 Cases to Cases Under

Chapter 7 of the Bankruptcy Code Upon the Closing of the Same [ECF No. 109] [ECF# 179]

(the “Conversation Order”).

         4.       Subsequently, Jacqueline Calderin was appointed the Chapter 7 Trustee (the

Trustee”) in the above styled matter [ECF# 182].

         5.       Upon her appointment the Trustee became aware of a D&O policy (the “D&O

Policy”) owned by the Debtor, from XL Specialty Insurance Company (“XL Specialty”) with

policy number ELU190927-23 which includes coverage for the Debtors’ directors and officers.

The D&O Policy provides up to $5,000,000 in liability coverage solely to ShiftPixy’s officers

and directors.

         6.       The Trustee intends to assert a claim against the D&O Policy.

         7.       The Trustee has also become aware of a number of other claims made against the

D&O Policy, and pursuant to which XL Insurance has reimbursed, or may reimburse, defense

costs.    More specifically, the Trustee has learned that the following cases (the “Insurance

Cases”) have been filed which may be covered by the D&O Policy:

              a. WG1, LLC (“WG1”) and WG3, LLC (“WG3”) filed the case styled WG1, LLC, et

                  al. v. Shiftpixy, Inc., et al., Case No. 30-2023-01338891 (Super. Court Orange

                  Cty., CA);




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            b. Robert Angueira, as Chapter 7 Trustee of the bankruptcy estate of Industrial

                Human Capital, Inc. (“Angueira”) filed the case styled as Robert Angueira v.

                Shiftpixy, Inc., et al., Adv. Proc. No. 23-01257-LMI (Bankr. S.D. Fla.);

            c. Apizza, LLC (“Apizza”) filed the case styled as Apizza, LLC v. Rethink Human

                Capital Management, Inc., d/b/a Shiftpixy, et al., Case No. 30-2024-01385218

                (Super. Ct., Orange Cty., CA);

            d. Diamondback DTNM, LLC (“Diamondback”) and Little John’s Gourmet, LLC

                (“Little John”) Diamondback DTNM, LLC et al. v. Shiftpixy, Inc. et al., Case No.

                8:24-cv-01278 (C.D. Cal.); and

            e. Golden West Wings, LLC (“Golden Wings”), A&R Management LLC (“AR

                Management”),        ARR      Management,        LLC     (“ARR      Management”),    Beri

                Development, LLC (“Beri Development”), Beri Ventures, LLC (“Beri

                Ventures”), Brea Diners Group, LLC (“Brea Diners”), Fresh Juice Development,

                LLC (“Fresh Juice”), Golden West Smoothies, LLC (“Golden Smoothies”), Grab

                N Go Juice, LLC (“GNG Juice”), Juice to Go, LLC (“Juice to Go”), LA Juice

                Company, LLC (“LA Juice”), LA Jamba LLC (“LA Jamba”), Reliance

                Restaurants, LLC (“Reliance Restaurants”), SoCal Jamba LLC (“SoCal Jamba”),

                Team ABC LLC (“Team ABC”), Brea Juice Company, LLC (“Brea Juice”) filed

                the case styled Golden West Wings LLC, et al. v. Shiftpixy, Inc. et al., Case No.

                8:24-cv-01537 (C.D. Cal.). The foregoing parties in paragraphs 7(a)-(e) are the

                “Litigation Parties,” and each case is an “Insurance Case(s).”

       8.       Each of the plaintiffs in the Insurance Cases have also filed claims in these

bankruptcy cases:


                                                      3


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a. WG1 filed Claim No. 61 on January 6, 2025.

b. WG3 filed claim No. 62 on January 6, 2025.

c. Angueira filed Claim No. 23 on December 13, 2024.

d. Apizza filed claim No. 28 on December 17, 2024.

e. DiamondBack filed claim No. 56 on January 3, 2025.

f. Little John filed claim No. 57 on January 3, 2025.

g. Golden Wings filed claim No. 48 on January 2, 2025.

h. AR Management filed claim No. 38 on January 2, 2025.

i. ARR Management filed claim No. 40 on January 2, 2025.

j. Beri Development filed claim No. 42 on January 2, 2025.

k. Brea Diners filed claim No. 41 on January 2, 2025.

l. Fresh Juice filed claim No. 45 on January 2, 2025.

m. Golden Smoothies filed claim No. 47 on January 2, 2025.

n. GNG Juice filed claim No. 46 on January 2, 2025.

o. Juice to Go filed claim No. 49 on January 2, 2025.

p. LA Juice filed claim No. 51 on January 2, 2025.

q. LA Jamba filed claim No. 50 on January 2, 2025.

r. Reliance Restaurants filed claim No. 52 on January 2, 2025.

s. SoCal Jamba filed claim No. 53 on January 2, 2025.

t. Team ABC filed claim No. 54 on January 2, 2025.

u. Brea Juice filed claim No. 43 on January 2, 2025.




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                                          RELIEF REQUESTED

        9.        By this Motion, the Trustee respectfully requests that the Court (i) order the

Trustee and the Litigation Parties to attend a mediation conference no later than forty-five (45)

days from the date of entry of an order on this Motion; and (ii) establish certain procedures to

govern the mediation as set forth herein.

        10.       The D&O Policy is property of the estate. See MacArthur Co. v. Johns-Manville

Corp., 837 F.2d 89, 92 (2d Cir. 1988) (“Numerous courts have determined that a debtor’s

insurance policies are property of the estate, subject to the bankruptcy court’s jurisdiction.”),

cert. denied, 488 U.S. 868 (1988); see also First Fidelity Bank v. McAteer, 985 F.2d 114, 116

(3d Cir. 1993); Louisiana World Exposition, Inc. v. Federal Ins. Co., 832 F.2d 1391, 1399 (5th

Cir. 1987); Minoco Group of Cos. v. First State Underwriters Agency, 799 F.2d 517, 519 (9th

Cir. 1986); A.H. Robins Co. v. Piccinin, 788 F.2d 994, 1001 (4th Cir. 1986); Beloit Liquidating

Trust v. United Ins. Co., 287 B.R. 904, 905-06 (N.D. Ill. 2002); In re Ames Dep’t Stores Inc.,

1995 WL 311764, at *3 (S.D.N.Y. 1995) (citing In re Sudbury, Inc., 153 B.R. 776, 778-80

(Bankr. N.D. Ohio 1993); In re Firearms Imp. and Exp. Corp., 131 B.R. 1009, 1013-14 (Bankr.

S.D. Fla. 1991); In re Federal Press Co., 104 B.R. 56 (Bankr. N.D. Ind. 1989).

        11.       Given the “wasting” nature of the D&O Policy, the Trustee is concerned that the

multiple pending litigations, pursuant to which the Insurance Carrier is advancing defense costs,

will result in a “burn rate” that will materially deplete the Insurance Policies’ remaining limits of

liability. Any diminution resulting from a judgment in the Insurance Cases or the reimbursement

of defense costs necessarily impacts property of the estate and detrimentally impacts the creditor

body.




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       12.       Compelling mediation at this time and before the D&O Policy is further depleted,

will provide the parties with an opportunity to achieve a consensual resolution of the claims

against the D&O Policy, maximize returns to the Litigating Parties, conserve judicial resources

and minimize attorneys’ fees and costs.

       13.       Moreover, in order to promote an efficient mediation process, the Trustee further

requests that the Court implement certain mediation procedures (the “Proposed Procedures”) set

forth below.

       14.       The Proposed Procedures will further the purpose behind the Bankruptcy Rules

and Local Rules by establishing structured guidelines essential to the efficient and successful

resolution of the Trustee’s claims, including participating requirements and deadlines and

procedures for the selection and payment of a mediator.

       15.       The Trustee submits that implementation of the Proposed Procedures will

promote the cost-effective, efficient resolution of all claims, thereby benefitting the Debtor’s

creditors and all parties in interest. Moreover, the Proposed Procedures will serve to advance

principles of judicial economy and the conservation of judicial resources.

      A. The Proposed Procedures

       16.       The parties shall mediate on or before forty-five (45) days after the entry of the

order on this Motion (the “Order”), provided however, that the parties may seek leave of Court to

extend such time period for good cause shown.

       17.       The parties will select a mutually acceptable mediator using the following

procedures:

                   a.      Within five (5) days of entry of the Order, the Trustee shall propose in

                           writing to the Litigation Parties the names of three (3) potential


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                           mediators and provide their respective curriculum vitae.

                   b.      Within five (5) days thereafter, the Litigation Parties’ respective counsel

                           shall either agree to one of the Trustee’s proposed mediators, or each

                           disagreeing party shall provide Trustee’s counsel with an alternative

                           mediator, along with their respective curriculum vitae.

                   c.      The Trustee will then have five (5) days within which to select one of

                           the alternative mediators proposed by the Litigation Parties.

       18.       One representative of each of the Litigation Parties, with full authority to

negotiate and settle the claims, will be required to attend the mediation. Any participating party

may be represented by legal counsel, but legal counsel is not required.

       19.       The mediation shall be held remotely through the use of a video conferencing

service/platform such as Zoom. The date and time of the mediation shall be set by the mediator,

after consultation with the parties.

       20.       The Trustee and the Litigation Parties shall each evenly share the costs of the

mediator’s fees and expenses including, without limitation, travel, deposit, and costs of

technology required to hold the mediation remotely.

       B. The Bankruptcy Court is Authorized to Compel Mediation and Implement the
          Proposed Procedures

       21.       “The court may order the assignment of a matter or proceeding to mediation at a

pretrial conference or other hearing, upon the request of any party in interest or the U.S. Trustee,

or upon the court’s own motion.” Local Rule 9019-2(B)(1).

       22.       Additionally, section 105(a) of the Bankruptcy Code grants bankruptcy courts

broad authority and discretion to take actions and implement procedures that are necessary to

carry out the provisions of the Bankruptcy Code. This section provides that:

                                                       7


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                 The court may issue any order, process, or judgment that is necessary or
                 appropriate to carry out the provisions of this title. No provision of this
                 title providing for the raising of an issue by a party in interest shall be
                 construed to preclude the court from, sua sponte, taking any action or
                 making any determination necessary or appropriate to enforce or
                 implement court orders or rules, or to prevent an abuse of process.

 11 U.S.C. § 105(a).

       23.       The Trustee submits that (i) ordering the Litigation Parties and the Trustee to

attend a mediation conference and (ii) implementing the Proposed Procedures are both

appropriate and necessary for the efficient administration and resolution of the claims against the

D&O Policy. Section 105 will enable the Court to carry out fully the provisions of Title 11,

including but not limited to Section 502.

       24.       The Proposed Procedures establish a structured, efficient process for the

resolution of the various claims asserted against the D&O Policy, and the claims filed in this case

by the Litigation Parties, and are integral to the ability of the parties to resolve the claims related

to the D&O Policy in a cost-effective manner that will maximize value to the Litigation Parties,

and these estates. In light of the foregoing, the Trustee submits that referring this matter to

mediation conference and approving the Proposed Procedures are warranted and well within the

authority of the Court.

       WHEREFORE, the Trustee respectfully requests that this Court enter an order: (i) granting

this Motion, (ii) requiring the Trustee and the Litigation Parties to attend a mediation conference;

(iii) implementing the Proposed Procedures in connection with the mediation; and (iv) granting such

other and further relief as the Court deems necessary and proper.


                                           By:     /s/ Jesse R. Cloyd
                                                   Jesse R. Cloyd
                                                   Florida Bar No: 58388
                                                   jrc@agentislaw.com

                                                       8


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                                   CERTIFICATE OF SERVICE

       I CERTIFY that a true and correct copy of the foregoing was served by transmission of

Notices of Electronic Filing generated by CM/ECF to those parties registered to receive

electronic notices of filing in this case and via U.S. Mail to the parties on the attached service list

on April 16, 2025.


                                         AGENTIS PLLC
                                         Counsel for the Trustee
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                                         Coral Gables, FL 33134
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                                         www.agentislaw.com
                                         By:    /s/ Jesse R. Cloyd
                                                Jesse R. Cloyd
                                                Florida Bar No: 58388
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                                                     9


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                                               4te Inc                                          A&R Management, LLC
ShiftPixy, Inc.                                PO Box 4048                                      700 East Birch Street, Unit 9847
                                               Mission Viejo, CA 92690-4048                     Brea, CA 92822-2142
4101 NW 25 Street
Miami, FL 33142-6725


APIZZA, LLC                                    Arizona Department of Economic Security          Arizona Department of Revenue
c/o Dunlap Bennett & Ludwig PLLC               PO Box 6028, Mail Drop 5881,                     PO Box 29085,
211 Church Street SE                           Phoenix, AZ 85005-6028                           Phoenix, AZ 85038-9085
Leesburg, VA 20175-3034




ARR Management, LLC                            AT&T Corp                                        AT&T Mobility aka AT&T by AIS InfoSource LP as
700 East Birch Street, Unit 9847               %AT&T Services Inc.                              agent
Brea, CA 92822-2142                            Karen A. Cavagnaro Paralegal                     AT&T Mobility aka AT&T by AIS InfoSource LP as
                                               One AT&T Way, Suite 3A104                        agent
                                               Bedminster, NJ 07921                             4515 N Santa Fe
                                                                                                Oklahoma City, OK 73118


AT&T Mobility II LLC                           BairesDev LLC                                    Balanced Management, LLC
%AT&T Services Inc.                            c/o Tarter Krinsky & Drogin LLP                  26 S Rio Grande St. #2072
Karen A. Cavagnaro Paralegal                   Attn: Rocco A. Cavaliere, Esq.                   Salt Lake City, Utah 84101
One AT&T Way, Suite 3A104                      1350 Broadway, 11th Floor
Bedminster, NJ 07921                           New York, NY 10018-0947



Beri Development, LLC                          Beri Ventures, LLC                               Blake J. Delaney
700 East Birch Street, Unit 9847               700 East Birch Street, Unit 9847                 Buchanan Ingersoll & Rooney PC
Brea, CA 92822-2142                            Brea, CA 92822-2142                              401 E Jackson St., Suite 2400
                                                                                                Tampa, FL 33602




Brea Diners Group, LLC                         Brea Juice Company, LLC                          Brex Inc
700 East Birch Street, Unit 9847               700 East Birch Street, Unit 9847                 Ballard Spahr LLP
Brea, CA 92822-2142                            Brea, CA 92822-2142                              Attn: Joel Newell
                                                                                                1 E. Washington St., Suite 2300
                                                                                                Phoenix, AZ 85004-2555



Bright Labs Services LLC                       BROADRIDGE FINANCIAL SOLUTIONS                   California Employment Development Department
485 Lexington Ave 10th FL,                     1155 LONG ISLAND AVENUE                          PO Box 989061,
New York, NY, 10017-2619                       EDGEWOOD NY 11717-8309                           West Sacramento, CA 95798-9061




California Employment Development Department   California Employment Development Department     Chirstopher A Sebes
3321 Power Inn Road,                           PO Box 997418                                    5730 Claridon Drive
Suite 140, #759                                Sacramento, CA 95899                             Naples, FL 34113-8385
Sacramento, CA 95826-3893




Connie L Absher                                County of Orange Treasurer-Tax Collector         Creditors Adjustment Bureau
18841 SW 74th Ct                               PO Box 4515                                      c/o Law Office of Kenneth J. Freed
Cutler Bay, FL 33157                           Santa Ana, CA 92702-4515                         4340 Fulton Ave., Third Floor
                                                                                                Sherman Oaks, CA 91423-3925




CT Corporation                                 David Frederik Vasquez                           David May
PO Box 4349                                    1511 S Pomona Ave, Unit A9                       15441 SW 173rd Ln
Carol Stream, IL 60197-4349                    Fullerton, CA 92832-3416                         Miami, FL 33187
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DC Office of Tax and Revenue- Compliance Adm   DE LAGE LANDEN FINANCIAL                         Diamondback DTNM, LLC
1101 4th Street SW,                            ATTN LITIGATION & RECOVERY                       3200 N. Central Avenue, Suite 1800
Washington, DC 20024-4457                      1111 OLD EAGLE SCHOOL ROAD                       Phoenix, AZ 85012-2438
                                               WAYNE PA 19087-1453




Donohoe Advisory Associates LLC                Eduardo J. Dominguez                             El Toro.com, LLC
9801 Washingtonian Blvd                        5778 Devonshire Blvd.                            552 E Market Street
Suite 340                                      Miami, FL 33155-4062                             Suite 400
Gaithersburg, MD 20878-7391                                                                     Louisville, KY 40202-7111




Elizabeth Eastvold                             Evan Blumer                                      Florida Department of Revenue
9740 SW 218 St                                 90 SW 3rd Street                                 2450 Shumard Oak Blvd
Cutler Bay, FL 33190                           APT 2502                                         Tallahassee, FL 32399-7022
                                               Miami, FL 33130-4024




Florida Department of Revenue                  FOUNDRY ASVRF SAWGRASS LLC                       FRANCHISE TAX BOARD
5050 West Tennessee Street,                    C/O MICHAEL S. PROVENZALE                        BANKRUPTCY SECTION MS A340
Tallahassee, FL 32399-0100                     215 N. EOLA DRIVE                                PO BOX 2952
                                               ORLANDO FL 32801-2028                            SACRAMENTO, CA 95812-2952




Fresh Juice Development, LLC                   Golden West Smoothies, LLC                       Golden West Wings, LLC
700 East Birch Street, Unit 9847               700 East Birch Street, Unit 9847                 700 East Birch Street, Unit 9847
Brea, CA 92822-2142                            Brea, CA 92822-2142                              Brea, CA 92822-2142




Google LLC                                     Grab N Go Juice, LLC                             Hannah Woods
c/o White and Williams LLP                     700 East Birch Street, Unit 9847                 13551 NW 6th St. Apt 101
ATTN: Michael Ingrassia                        Brea, CA 92822-2142                              Pembroke Pines, FL 33028
600 North King Street, Suite 800
Wilmington, DE 19801-3778



Idaho Department of Labor- Collection Enforc   Idaho State Tax Commission                       Idaho State Tax Commission
Unit 317 W Main Street,                        PO Box 36,                                       11321 W Chinden Blvd,
Boise, ID 83735-0001                           Boise, ID 83722-0036                             Boise ID 83714-1021




Illinois Department of Employment Security     ILLINOIS DEPARTMENT OF REVENUE                   Internal Revenue Service
Revenue Collection Enforcement Unit            BANKRUPTCY UNIT                                  Centralized Insolvency Operation
33 S State Street, 10th Floor,                 PO BOX 19035                                     PO Box 7346
Chicago, IL 60603-2808                         SPRINGFIELD IL 62794-9035                        Philadelphia, PA 19101-7346




Internal Revenue Service                       IOWA Workforce Development Unemployment Insu     ipCapital Group, Inc.
Centralized Insolvency Operation               1000 E Grand Avenue,                             426 Industrial Ave, Suite 150
PO Box 7317                                    Des Moines, IA 50319-0220                        Williston, VT 05495
Philadelphia, PA 19101-7317




IPFS Corporation 3522                          Jason Absher                                     Jeffrey R Ott
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Jersey City, NJ 07302                          Homestead, FL 33035                              Pembroke Pines, FL 33025
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Juice To Go, LLC                               Kansas Department of Revenue                     Kansas Department of RevenueDivision of Taxa
700 East Birch Street, Unit 9847               Division of Taxation                             PO Box 3506, Avenue,
Brea, CA 92822-2142                            12 SE 10th Avenue,                               Topeka, KS 66601-3506
                                               Topeka KS 66625-0001




Karen Sue Naylor, Ch 7 Trustee, in Re John H   KPA Services LLC                                 LA Jamba, LLC
4910 Birch St. Suite 120                       11080 Circle Point Rd, Suite 200                 700 East Birch Street, Unit 9847
Newport Beach, CA 92660-2188                   Westminster, CO 80020-2778                       Brea, CA 92822-2142




LA Juice Company, LLC                          Levinson Arshonsky Kurtz & Komsky LLP            Little John's Gourmet, LLC
700 East Birch Street, Unit 9847               15303 Ventura Boulevard                          3200 N. Central Avenue, Suite 1800
Brea, CA 92822-2142                            Suite 1650                                       Phoenix, AZ 85012-2438
                                               Sherman Oaks, CA 91403-6620




Lori Lynn Howard                               Lowenstein Sandler LLP                           Manuel Rivera
749 Colfax Ave                                 Attn: William B. Farrell                         10361 NW 64th Ter
Pompton Lakes, NJ 07442-1001                   One Lowenstein Drive                             Doral FL 33178-4022
                                               Roseland, NJ 07068-1791




Mark Absher                                    Massachusetts Department of Revenue              Massachusetts Dept. of Revenue Bankruptcy Un
109 Montana Del Lago Drive                     100 Cambridge Street,                            PO Box 7090
Rancho Santa Margarita, CA 92688               Boston, MA 02204-0001                            Boston, MA 02204-7090




MEDIANT COMMUNICATIONS INC                     Miami-Dade Office of the Tax Collector           Miami-Dade Office of the Tax Collector
ATTN ATTN JOSEPH SIMONOWICH                    Tangible Personal Property                       Legal Services Unit
400 REGENCY FOREST DRIVE                       200 NW 2nd Avenue, Miami, FL 33128               200 NW 2nd Ave, suite 430
SUITE 200                                                                                       Miami, Florida 33128-
CARY NC 27518-7703



MIchigan Department of Treasury                Michigan Department of Treasury                  Minesota Department of Revenue
PO Box 30756                                   City Tax Administration                          Collections Division
Lansing, MI 48909-8256                         PO Box 30756,                                    PO Box 64651
                                               Lansing, MI 48909-8256                           Saint Paul, MN 55164-0651




Missouri Department of Revenue                 Navarro Attorneys At Law                         New Jersey Department of Labor and Workforce
Taxation Division                              66 West Flagler Street, Sixth Floor              Division of Employer Accounts
PO Box 3375,                                   Miami, FL 33130-1807                             PO Box 059,
Jefferson City, MO 65102-3375                                                                   Trenton, NJ 08646-0001




New Jersey Department of Labor and Workforce   New Jersey Department of the Treasury            New Mexico Department of Workforce Solutions
Delinquency Unit                               Division of Taxation                             PO Box 1928,
PO Box 932,                                    PO Box 1009,                                     Albuquerque, NM 87103-1928
Trenton, NJ 08625-0932                         Moorsetown, NJ 08057-0909




New Mexico Taxation & Revenue                  New York Department of Labor- Unemployment I     New York Department of Labor- Unemployment I
PO Box 25128,                                  PO Box 15012                                     Enforcement Unit
Santa Fe, NM 87504-5128                        Albany, NY 12212-5012                            PO Box 4305
                                                                                                Binghamton, NY 13902-4305
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New York Department of Labor- Unemployment I     New York Department of Taxation and Finance     New York Employment Contributions and Taxes
PO Box 4301                                      Civil Enforecement Division - Offset Uni        PO Box 4119
Brimingham, NY 13902-4301                        Albany NY 12227-0001                            Binghamton, NY 13902-4119




New York State Department of Taxation & Fina     NM Taxation & Revenue Department                Oklahoma Tax Commission
Bankruptcy Section                               PO Box 8575                                     Oklahoma City, OK 73194-0001
P O Box 5300                                     Albuquerque, NM 87198-8575
Albany, NY 12205-0300




Osborn Maledon, PA                               Pashman Stein Walder Hayden, P.C.               Payne & Fears LLP
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Phoenix, AZ 85012-2727                           Hackensack, NJ 07601-7086                       Irvine, CA 92614-8550




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PrismHR, Inc.                                    Reliance Restaurants, LLC                       Rethink Human Capital Management, Inc
35 Parkwood Drive                                700 East Birch Street, Unit 9847                4101 NW 25th Street
Hopkinton, MA 01748, MA 01748-1727               Brea, CA 92822-2142                             Miami, FL 33142-6725




Say Technologies LLC                             Scott William Absher                            ShiftPixy Staffing, Inc.
85 Willow Road                                   18841 SW 74th Ct                                4101 NW 25 Street
Menlo Park, CA 94025-3656                        Cutler Bay, FL 33157                            Miami, FL 33142-6725




Shulman Bastian Friedman & Bui LLP               SoCal Jamba, LLC                                Spectrum OPC, LLC
Attn: Ryan D. O'Dea, Esq.                        700 East Birch Street, Unit 9847                7 Corporate Plaza
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